                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA


MATTEO MARCHETTI, individually and on          Case No. 1:23-CV-20160-KMM
behalf of all others similarly situated,
                                               AMENDED CLASS ACTION
                            Plaintiff,
                                               COMPLAINT
                   v.

REALPAGE, INC.; THOMA BRAVO, L.P.;
AMLI MANAGEMENT COMPANY;
ALLIANCE RESIDENTIAL COMPANY;
APARTMENT MANAGEMENT
CONSULTANTS, LLC; ASSET LIVING,
LLC; AVENUE5 RESIDENTIAL LLC;
BH MANAGEMENT SERVICES LLC;
BOZZUTO MANAGEMENT COMPANY;
CAMDEN PROPERTY TRUST;
CORTLAND PARTNERS LLC; CUSHMAN
& WAKEFIELD, INC.; EQUITY
RESIDENTIAL; ESSEX PROPERTY
TRUST, INC.; FPI MANAGEMENT, INC.;
GREYSTAR REAL ESTATE PARTNERS,
LLC; LINCOLN PROPERTY COMPANY;
MID-AMERICA APARTMENT
COMMUNITIES, INC.; MORGAN GROUP
INC.; RPM LIVING LLC; SECURITY
PROPERTIES INC.; THRIVE
COMMUNITIES MANAGEMENT, LLC;
and WINNCOMPANIES LLC,
                            Defendants.




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        Plaintiff Matteo Marchetti (“Plaintiff”) brings this action on behalf of himself and all

others similarly situated, against defendants Alliance Residential Company (“Alliance”), AMLI

Management Company (“AMLI”), Apartment Management Consultants, LLC (“AMC”), Asset

Living, LLC (“Asset Living”), Avenue5 Residential LLC (“Avenue5”), BH Management

Services LLC (“BH”), Bozzuto Management Company (“Bozzuto”), Camden Property Trust

(“Camden”), Cortland Partners LLC (“Cortland”), Cushman & Wakefield, Inc. (“Cushman”),

Equity Residential (“Equity”), Essex Property Trust (“Essex”), FPI Management, Inc. (“FPI”),

Greystar Real Estate Partners, LLC, (“Greystar”), Lincoln Property Company (“Lincoln”), Mid-

America Apartment Communities, Inc. (MAA”), Morgan Group Inc (“Morgan”), RPM Living

LLC (“RPM”), Security Properties Inc. (“Security Properties”), Thrive Communities

Management, LLC (“Thrive”), Winncompanies LLC (“Winncompanies”) (collectively, the

“Apartment Management Defendants”), and defendants RealPage, Inc. (“RealPage”) and Thoma

Bravo, L.P. (“Thoma Bravo,” together with RealPage, the “RealPage Defendants,” all defendants

collectively, “Defendants”). Plaintiff brings this action for treble damages and injunctive relief

under Section 1 of the Sherman Act. Plaintiff demands a trial by jury.1

                                        INTRODUCTION

        1.     For the past two decades, RealPage Inc. has worked to develop a platform that

would allow multifamily residential apartment owners to share pricing, occupancy, and other

sensitive information without alerting regulators to this blatantly anticompetitive conduct. In

exchange for a fixed fee, RealPage has provided the apartment unit owners with the principle

benefit of cartelization: supracompetitive pricing. Since approximately 2016, this cartel has

substantially increased rents (over and beyond what the fair market would support) and inflated

profits for the apartment owners while positioning RealPage as the hub of the apartment leasing

industry, an indispensable and necessary player in one of the largest industries in the country.

                                  NATURE OF THE ACTION

1
 Plaintiff originally filed his complaint with this Court on January 23, 2023, case no. 1:23-CV-
20263-KMM. On January 26, 2023, the Court consolidated Plaintiff’s case with the case
captioned Parker et al v. RealPage Inc et al, case no. 1:23-cv-20160-KMM, and instructed
Plaintiff to file an amended complaint in the consolidated action.

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      2.       Computer algorithms have changed many aspects of modern life. An algorithm is

essentially a set a of instructions designed to solve a complex problem. Capable of processing

extraordinary amounts of data nearly instantaneously, algorithms are commonly used to detect

patterns in information about past events to inform decisions about how to act in the future. With

sufficient data, computer processing power, and advances in computer science, an algorithm can

predict future behaviors with high degrees of probability. Algorithms are now widely used to

predict how we will shop, work, and play, among many other things. These increasingly

sophisticated computer programs can now be employed by horizontal competitors seeking to

collude on price without being detected. By agreeing to provide sensitive business information to

a third party whose algorithm can set a supracompetitive price, and further agreeing to accept the

third party’s artificially inflated pricing nearly universally, horizontal competitors can engage in

unlawful cartel behavior while claiming they are simply employing “revenue management

software.” This is precisely what Defendants have done here.

      3.       Defendants have formed a cartel in the multifamily residential apartment building

market in the United States, the purpose and effect of which is to artificially inflate the rental

prices of apartment units in the United States above competitive levels. To facilitate this

unlawful scheme, the Apartment Management Defendants provide RealPage—and, through

RealPage, one another—with highly sensitive and confidential competitive information on a

daily basis, including detailed real-time data regarding pricing, inventory, occupancy rates, and

unit types that are or will be coming available to rent, among other things. The Apartment

Management Defendants do so with the knowledge, provided by RealPage, that their competitors

are also exchanging their real-time confidential information.

      4.       Pursuant to the illegal agreement, this information is input into a powerful

proprietary algorithm designed, sold, marketed, and operated by RealPage, known as the AI

Revenue Management algorithm (“AIRM,” formerly known as “YieldStar”), which uses this

data to provide detailed real-time pricing to the Apartment Management Defendants. The
Apartment Management Defendants then implement this pricing with limited exceptions,

adopting RealPage’s prices eighty to ninety percent of the time, knowing their horizontal

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competitors are doing so as well. Pursuant to the conspiracy, the Apartment Management

Defendants have outsourced their pricing decision-making and formed a cartel, restraining

competition and resulting in high supracompetitive rents. Rather than compete, Defendants are

choosing to collude.

      5.       The Apartment Management Defendants purportedly are horizontal competitors

with respect to rentals of units in multi-family apartment buildings across the United States.

RealPage’s clients, including the Apartment Management Defendants, control over sixteen

million rental units in the United States, comprising over seventy percent of the U.S. market for

multi-family apartment buildings which forms the basis of the cartel.

      6.       The cartel includes the largest multifamily real estate management companies in

the United States, which participate in the cartel with the aid of and through RealPage’s AIRM

algorithm. RealPage displays this information prominently on its website, providing assurance to

cartel members that their horizontal competitors are also sharing their confidential information

through RealPage and holding fast on RealPage’s supracompetitive pricing. Absent the

knowledge that their competitors are also sharing their confidential information, cartel members

would not share their confidential information or adopt RealPage’s supracompetitive pricing

because their competitors would use the information to lure their customers away.

      7.       RealPage subscribers are able to see data from RealPage on a real-time dashboard

or receive downloadable data in .csv files or other formats. Each member of the cartel receives

daily recommended rents for each of their apartments, understanding that other cartel members,

including virtually all of its major horizontal competitors, are also receiving this information.

This constitutes a cartel price and horizontal restraint on competition. Such coordinated pricing

between and among horizontal competitors is a per se violation of antitrust law.

      8.       In addition, in furtherance of the cartel, this real-time market pricing information

enables the Apartment Management Defendants to detect and adjust to pricing variations nearly

instantaneously, rendering any deviations from the cartel price detectable and unprofitable. By
adopting the algorithmic pricing on a market-wide basis and enforcing market discipline with



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instantaneous pricing data, Defendants ensure that the supracompetitive recommended rental

pricing remains stable and enforce participation in the cartel.

      9.       This automated pricing process is only possible due to advances in algorithmic

computing that enable nearly instantaneous analysis of industry data to create predictive pricing.

These predictive prices were unavailable to multifamily apartment management companies even

ten years ago. At that time, computing power was substantially undeveloped. Also, the critical

mass of market data necessary to form predictive pricing was not yet achieved. RealPage

coaches its clients to stand firm on price, advertising that if they do so they can increase prices

by up to seven percent over the market.

      10.      Defendants have successfully increased rents to supracompetitive levels while

decreasing supply since at least 2016. Defendants’ agreement to share their confidential

commercial data with their horizontal competitors and to adopt RealPage’s monopoly pricing

constitutes a horizontal agreement not to compete on price, a per se violation of Section 1 of the

Sherman Act. Plaintiff has suffered antitrust injury by paying inflated rents and seeks damages

and injunctive relief.

      11.      By agreeing to share commercially sensitive confidential business information,

from which AIRM establishes supracompetitive prices the Apartment Management Defendants

use up to ninety percent of the time, Defendants raised rents to supracompetitive rates in

violation of Section 1 of the Sherman Act, causing antitrust injury to Plaintiff and the members

of the class. Plaintiff and the class seek compensatory damages and injunctive relief pursuant to

15 U.S.C. §§ 15 & 26.

                         PARTIES AND UNNAMED CO-CONSPIRATORS

      12.      Plaintiff Matteo Marchetti is a resident of Miami, Florida, in Miami-Dade County,

and represents a class of all renters who paid artificially inflated rents to Defendants nationwide

and within the Metropolitan Statistical Area for Miami-Fort Lauderdale-Pompano Beach, FL

(“Miami Metropolitan Statistical Area”), as that area is defined by the U.S. Office of




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Management and Budget.2. He has rented an apartment managed by Defendant AMLI

Management Company since approximately 2018.

       13.     Defendant RealPage, Inc. is a Delaware corporation headquartered in Richardson,

Texas. RealPage provides software and services to the residential real estate industry, including

the multifamily apartment management companies described herein. RealPage has thousands of

employees and earns over a billion dollars per year in revenue. As of December 31, 2019,

RealPage had over 29,800 clients, including each of the ten largest multifamily property

management companies in the U.S. On December 20, 2020, RealPage entered into an agreement

to be acquired by private equity firm Thoma Bravo for approximately $10.2 billion, The

acquisition was completed in April 2021.

       14.     Defendant Thoma Bravo L.P. is a Delaware limited partnership with offices in

this district in Miami, as well as in San Francisco, California, and Chicago, Illinois.. Thoma

Bravo is a private equity firm with over $122 billion in assets. Thoma Bravo acquired RealPage

in April 2021. On information and belief, Thoma Bravo was aware of RealPage’s

anticompetitive activities and acquired RealPage with the intent to maintain and enhance its

cartel profits, which RealPage, with Thoma Bravo’s active guidance and participation, has done.

Plaintiff is informed and believes that Thoma Bravo is actively involved in the day-to-day

operations of RealPage, including selecting and approving acquisition targets for RealPage,

setting company policies, and hiring top RealPage executives from other Thoma Bravo

companies, including CEO Dana Jones and COO Vinit Doshi, both of whom were recruited from

Thoma Bravo subsidiary Sparta Systems.

       15.     Apartment Management Defendant AMLI Management Company is a Delaware

corporation headquartered in Chicago, Illinois. AMLI manages more than 25,000 apartment units

across the country. AMLI is a RealPage client.




2
 See U.S. Census Bureau, Core based statistical areas (CBSAs), metropolitan divisions, and
combined statistical areas (CSAs), available for download at https://www2.census.gov/programs-
surveys/metro-micro/geographies/reference-files/2020/delineation-files/list1_2020.xls.

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      16.      Apartment Management Defendant Alliance Residential Realty, LLC is a

Delaware limited liability corporation headquartered in Scottsdale, Arizona. Alliance manages

more than 100,000 apartment units across the country. Alliance has been a RealPage client since

at least 2003. Alliance is a RealPage client.

      17.      Apartment Management Defendant Apartment Management Consultants, LLC is

a Utah limited liability corporation headquartered in Sandy, Utah. AMC is the sixth largest

apartment management company in the U.S., managing more than 90,000 apartment units across

the country. AMC is a RealPage client.

      18.      Apartment Management Defendant Asset Living, LLC is an Arizona limited

liability corporation headquartered in Houston, Texas. Asset Living is the fourth largest

apartment management company in the U.S., managing more than 100,000 apartment units

across the country. Asset Living is a RealPage client.

      19.      Apartment Management Defendant Avenue5 Residential, LLC is a Delaware

limited liability company headquartered in Seattle, Washington. Avenue5 is the twelfth largest

manager of multifamily rental real estate in the United States, with over 96,900 multifamily units

under management in twelve states. Avenue5 is a RealPage client.

      20.      Apartment Management Defendant BH Management Services, LLC is an Iowa

limited liability company with its headquarters in Des Moines, Iowa. BH is the eighth largest

manager of multifamily rental real estate in the United States, with over 100,000 multifamily

units under management in 28 states. BH is a RealPage client.

      21.      Apartment Management Defendant Bozzuto Management Company is a

Maryland company headquartered in Greenbelt, Maryland. Bozzuto is the thirteenth largest

manager of multifamily rental real estate in the United States with over 80,000 multifamily units

under management in 12 states. Bozzuto is a RealPage client.

      22.      Apartment Management Defendant Camden Property Trust is a Texas real estate

trust headquartered in Houston, Texas. Camden is the twenty-ninth largest manager of
multifamily rental real estate in the United States, with over 58,000 units under management.

Camden is a RealPage client.

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      23.      Apartment Management Defendant Cortland Partners LLC, is a Georgia limited

liability company headquartered in Atlanta, Georgia. Cortland has over 85,000 units under

management in 13 states. Cortland is a RealPage client.

      24.      Apartment Management Defendant Cushman & Wakefield, Inc. is a Delaware

corporation headquartered in New York, New York. It is the third largest manager of multifamily

rental real estate in the United States, with over 172,000 multifamily units under management

nationally. On information and belief, Cushman earns billions of dollars per year in revenue and

employs over ten thousand people. Cushman is a RealPage client.

      25.      Apartment Management Defendant Equity Residential is a Maryland real estate

investment trust headquartered in Chicago, Illinois. Equity is the sixteenth largest manager of

multifamily rental real estate in the United States, with over 80,000 units under management in

eight states. On information and belief, Equity earns over two billion dollars per year in revenue

and employs over 2,000 people. Equity is a RealPage client.

      26.      Apartment Management Defendant Essex Property Trust, Inc is a Maryland

corporation headquartered in San Mateo, California. Equity is the twenty-fourth largest manager

of multifamily rental real estate in the United States, with over 61,000 units under management

in California and Washington. On information and belief, Essex earns over 1.4 billion dollars per

year in revenue and employs over 1,700 people. Essex is a RealPage client.

      27.      Apartment Management Defendant FPI Management, Inc. is a California

corporation headquartered in Folsom, California. FPI is the fifth largest manager of multifamily

rental real estate in the United States, with over 150,000 multifamily units under management in

seventeen states. FPI is a RealPage client.

      28.      Apartment Management Defendant Greystar Real Estate Partners, LLC is a

Delaware limited liability corporation headquartered in Charleston, South Carolina. It is the

largest manager of multifamily rental real estate in the United States, with more than 782,900

multifamily units and student beds under management nationally. On information and belief,
Greystar earns billions of dollars per year in revenue, controls $35.5 billion dollars in assets, and

employs over 20,000 people. Greystar is a RealPage client.

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      29.      Apartment Management Defendant Lincoln Property Company is a Texas

corporation headquartered in Dallas, Texas. Lincoln is the second largest manager of multifamily

rental real estate in the United States, with over 210,000 multifamily units under management

nationally. Lincoln is a RealPage client.

      30.      Apartment Management Defendant Mid-America Apartment Communities, Inc. is

a Tennessee corporation headquartered in Germantown, Tennessee. MAA is the tenth largest

manager of multifamily rental real estate in the United States, with over 100,000 multifamily

units under management in sixteen states. On information and belief, MAA earns over one

billion dollars per year in revenue and employs over 2,400 people. MAA is a RealPage client.

      31.      Apartment Management Defendant Morgan Group Inc. is a Pennsylvania limited

liability company headquartered in King of Prussia, Pennsylvania. Morgan is the eleventh largest

manager of multifamily rental real estate in the United States, with over 96,000 multifamily units

under management in 20 states. Morgan is a RealPage client.

      32.      Apartment Management Defendant RPM Living LLC is a Texas limited liability

company headquartered in Austin, Texas. RPM is the seventh largest manager of multifamily

rental real estate in the United States, with over 112,000 units under management in 21 states.

RPM is a RealPage client.

      33.      Apartment Management Defendant Security Properties Inc. is a Washington

corporation headquartered in Seattle, Washington. Security Properties has over 22,000 units

under management in eighteen states. Security is a RealPage client.

      34.      Apartment Management Defendant Thrive Communities Management, LLC is a

Washington Limited Liability Company headquartered in Seattle, Washington. Thrive has over

18,000 units under management in the greater Pacific Northwest. On information and belief,

Thrive earns millions of dollars per year in revenue and employs over five hundred people.

      35.      Apartment Management Defendant Winncompanies LLC (“Winncompanies”) is a

Massachusetts company with its primary place of business located in Boston, Massachusetts.
Winncompanies is the ninth largest apartment management company in the United States,



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managing over 103,000 apartment units nationwide. Winncompanies has been a RealPage client

since 2018.

      36.      The Apartment Management Co-Conspirators are various persons and entities,

including multifamily apartment management companies, known and unknown to Plaintiff and

not named as defendants in this action, who have participated as co-conspirators with RealPage,

Thoma Bravo, and the Apartment Management Defendants in the offenses alleged and have

performed acts and made statements in furtherance of the conspiracy.

                                 JURISDICTION AND VENUE

      37.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1337, as this action arises out of Section 1 of the Sherman Antitrust Act (15 U.S.C. § 1) and

Sections 4 and 16 of the Clayton Antitrust Act (15 U.S.C. §§ 15 and 26).

      38.      This Court has personal jurisdiction over Defendants under Section 12 of the

Clayton Act (15 U.S.C. § 22).

      39.      Defendants, directly or through their divisions, subsidiaries, predecessors, agents,

or affiliates, may be found in and transact business in the forum state, including the sale of

multifamily residential real estate leases.

      40.      Defendants, directly or through their divisions, subsidiaries, predecessors, agents,

or affiliates, engage in interstate commerce in the sale of multifamily residential real estate

leases.

      41.      Venue is proper in this District pursuant to 15 U.S.C. § 22 and 28 U.S.C. § 1391,

because one or more Defendants maintain business facilities, have agents, transact business, and

are otherwise found within this District and certain unlawful acts alleged herein were performed

and had effects within this District.




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                                  FACTUAL ALLEGATIONS

         A.    RealPage’s AIRM Algorithm Produces Predictive Pricing and Provides
               Defendants with Transparency, Certainty, and the Ability to Impose Market
               Discipline


        42.    Increased access to data facilitated by the internet, combined with increasingly

powerful algorithms to analyze that data, is changing the way pricing is determined, including

changing how cartels operate. “[A]lgorithms may work as a facilitating factor for collusion and

may enable new forms of co-ordination that were not observed or even possible before.”3 “[T]he

aggregation and exchange of price and other competitive information can facilitate

anticompetitive coordination among competitors.”4 “The increasing power of computers . . . ,

plus the growing ubiquity of the Internet and increasingly sophisticated data-mining techniques

have driven a rapid shift of pricing decisions away from human decision makers in favor of

algorithms . . . . Increasingly the software programs that apply these algorithms, functioning as

‘robo-sellers,’ can make pricing decisions autonomously.”5

        43.    The Apartment Management Defendants have agreed to outsource their pricing

determinations to RealPage. RealPage markets and sells pricing services based on powerful

algorithmic processes deriving from real-time data provided by the Apartment Management

Defendants pursuant to their agreement. This automated pricing process is only possible due to

advances in algorithmic computing that enable nearly instantaneous analysis of industry data to

create predictive pricing. These predictive prices were unavailable to multifamily apartment

management companies in 2004, when Jeffrey Roper was hired by RealPage to improve its

rudimentary apartment pricing algorithm. In the 1980s, Roper had developed a pricing algorithm



3
  OECD (2017), Algorithms and Collusion: Competition Policy in the Digital Age, 19, available
for download at www.oecd.org/competition/algorithms-collusion-competition-policy-in-the-
digital-age.htm.
4
 U.S. DOJ Business Review Letter for Amadeus Group, LLC and Mystic Logistics, LLC, Dec.
13, 2016, available for download at https://www.justice.gov/atr/response-amadeus-group-llc-
and-mystic-logistics-llc-request-business-review.
5
 Salil K. Mehra, Antitrust and the Robo-Seller: Competition in the Time of Algorithms, 100
Minn. L. Rev.1323, 1324-25 (2016)

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for the airline industry that led to a price-fixing investigation by the U.S. Department of Justice

resulting in settlements or consent decrees with eight airlines. Roper recognized that the

multifamily apartment leasing industry was “ripe” for a similar scheme, but that he needed more

data. As Roper refined the algorithm, RealPage continued to build its business. By 2016, after

servicing a number of the Apartment Management Defendants’ portfolios, AIRM had access to

sufficient market data to successfully calculate supracompetitive pricing that vastly increases

Defendants’ revenues as long as all cartel members support the scheme. RealPage coaches its

clients to stand firm on price, advertising that if they do so they can increase prices by up to

seven percent over the market.

      44.      RealPage calculates and disseminates supracompetitive unit-by-unit pricing on a

daily basis for use by the Apartment Management Defendants. RealPage provides pricing

services for multifamily apartment management companies controlling over seventy percent of

the investment quality multifamily buildings in the United States. Those companies adopt

RealPage’s pricing up to ninety percent of the time, ensuring that all or nearly all renters in

multifamily apartment buildings pay Defendants’ supracompetitive prices.

                   i. AIRM Processes Unit-by-Unit Data From Millions of Apartment
                      Units Provided by its Clients.

      45.      RealPage developed and operates its AIRM algorithm to process sensitive real-

time data regarding millions of units in multifamily apartment buildings and generate

supracompetitive pricing for those units. The information is provided daily by RealPage’s

clients, including the Apartment Management Defendants, all of whom provide RealPage with

detailed real-time non-public information on a daily basis about pricing (including unpublished

starting rents and renewal rent increases), inventory, occupancy rates, length of lease, units and

unit types that are or will be coming available to rent, and other confidential information about

each of the apartments they manage.

      46.      Cartel members share this data with the knowledge that RealPage will base its
recommended rents to their competitors on the data, in essence providing their competitors with

insight into their confidential business information. Cartel members also know that their


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competitors are sharing their own confidential leasing information with RealPage, from which

each cartel member can glean information about their competitors’ pricing and other data points.

This mutual sharing of confidential information only makes sense when cartel members are

confident that their competitors will not use the information to gain a competitive advantage by

lowering rents to lure away customers.

        47.     The U.S. Department of Justice, one of the two agencies charged with enforcing

the antitrust laws on behalf of the U.S. government, has stated that the exchange of the kind of

information the Apartment Management Defendants agree to exchange with their direct

competitors raises grave antitrust concerns:

         the sharing of information related to a market in which . . . the participants are
         actual or potential competitors may increase the likelihood of collusion on matters
         such as price, output, or other competitively sensitive variables. The competitive
         concern depends on the nature of the information shared. Other things being
         equal, the sharing of information relating to price, output, costs, or strategic
         planning is more likely to raise competitive concern than the sharing of
         information relating to less competitively sensitive variables.6

        48.     Here, the Apartment Management Defendants’ agreement to provide AIRM with

their sensitive leasing data results in the very harm to consumers about which the DOJ expressed

concerns.

        49.     RealPage and the Apartment Management Defendants know that, in order for the

AIRM algorithm to function, it requires granular real-time data from a substantial percentage of

market participants.

        50.     Beginning in approximately 2016, RealPage began to obtain agreements from

large institutional investors, including many of the Apartment Management Defendants to

participate in the anticompetitive scheme. The large institutional lessors of multifamily units

provided that source.




6
 US DOJ and FTC, Antitrust Guidelines for Collaborations Among Competitors, April 2000, p.
15, accessible at https://www.ftc.gov/sites/default/files/attachments/press-releases/ftc-doj-issue-
antitrust-guidelines-collaborations-among-competitors/ftcdojguidelines.pdf.

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      51.      RealPage’s customers controlled enough of the market that the data they shared

with RealPage provided the critical mass of data, serving as the basis for predictive algorithmic

pricing and coordination.

      52.      Importantly, in addition to providing a source of granular real-time leasing data

for AIRM, the Apartment Management Defendants had market power and power over pricing

because they controlled a significant share of the market.

      53.      Real-time visibility into competitors’ pricing, organized and analyzed by a highly

sophisticated algorithmic computer application, provided the means to adopt and enforce higher

prices reliably and nearly instantaneously.

      54.      RealPage also obtained control of the market through the acquisition of

competitors. In 2017, RealPage acquired LRO (Lease Rent Options), a rival apartment pricing

algorithm. Although the Department of Justice permitted the acquisition, Jeffrey Roper,

RealPage’s principal scientist and the creator of YieldStar (the predecessor of AIRM)

commented that, “I was surprised the DOJ let that go through,” demonstrating awareness that the

acquisition would lead to a reduction in competition.

                   ii. AIRM Recommends Pricing to be Used by RealPage Subscribers,
                       Based on Their Competitors’ Highly Confidential Competitively
                       Sensitive Data


      55.      AIRM analyzes the cartel members’ data and provides the cartel members with

supracompetitive recommended rental and renewal prices for each of their rental units on a daily

basis. The information is made available in the form of a real-time dashboard and provided in

downloadable .csv or other formats as well.

      56.      Each of the Apartment Management Defendants receives daily pricing with the

full knowledge that their competitors are also receiving the data and recommendations from

RealPage.

      57.      It would not make business sense for the Apartment Management Defendants to
adopt RealPage’s supracompetitive recommended rents unless they were certain their




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competitors were also doing so. Otherwise they would lose business to their competitors who

would undercut their above-market prices.

        58.       Supracompetitive rents lead to unit vacancies which under competitive

circumstances would mean lost profits for the month. Under competitive conditions, a landlord

would be incentivized to lower rents to below supracompetitive levels.

        59.       Because cartel members know their competition will not lower their rents even for

vacant units, the cartel can maintain supracompetitive rents even with available vacant units on

the market.

        60.       AIRM, like other sophisticated algorithms operated on powerful computers and

computer servers, is able to digest, organize, and analyze massive amounts of past and present

data to arrive at predictive pricing. “[P]redictive analytics utilizes ‘a variety of statistical,

modeling, data mining, and machine learning techniques to study recent and historical data,

thereby allowing analysts to make predictions about the future’” and “can be used to

automatically vary pricing over time based on purchasing trends.”7

        61.       Algorithms also minimize human intervention and eliminate irrationality and

agency costs. Algorithms reduce the chance that the cartel is undermined by mistake or

individual intentions, and eliminate the need for direct communications where competitors like

the Apartment Management Defendants obtain real-time visibility into their competitors’ prices.

        62.       This is precisely what RealPage advertises and promotes:

              Using the right revenue management solution [i.e., AIRM] is a game changer
              in maximizing profitability, as it leverages predictive analytics to predict future
              behavior based on past performance. Multifamily professionals can increase
              revenue premiums and gain a consistent pricing methodology to see a
              performance boost between two and seven percent. They can also reduce the
              price negotiation burden often placed on staff and improve leasing flexibility
              for residents—all using data science.8




7
 Mehra, 100 MINN. L. REV. at 1325, n.9 (quoting Natalie Burg, Your Company Can See the
Future with Predictive Analytics, FORBES (Mar. 26, 2014, 9:39 AM),
http://www.forbes.com/sites/sungardas/2014/03/26/your-company-can-see-the-future-with-
predictiveanalytics-2).
8
    See https://www.realpage.com/blog/data-science-techniques-real-estate/.

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        63.    RealPage provides recommended rents created by AIRM for every available

apartment managed by the clients, including the Apartment Management Defendants. The

recommended rents are calibrated using localized competitor data regarding pricing and “unit

and unit types that are or will be coming available to rent at that community” to determine “what

renters are willing to pay for their community.”9

        64.    RealPage tells its clients that its recommended prices will increase rents by

“between 5% and 12% in every market,” and that its clients agree to use its supracompetitive

prices up to ninety percent of the time. Thus the cartel members know that their competitors are

also raising their rents in coordination with RealPage’s recommended rents.

        65.    RealPage’s recommended rents are market specific: they take into account rents

charged in the specific geographic submarket (e.g. Miami, Seattle, Denver, San Diego, etc.) for

each client.

        66.    While RealPage claims it does not facilitate collusion because it only shares

aggregated data, the effect is the same as if each client shared its confidential sales data directly

with its closest competitors, because AIRM arrives at a collusive price using that very same

confidential sales data from each client’s local competitors.

                   iii. Defendants’ Collusive Agreement to Raise Prices

        67.    An algorithm cannot alone control the market and institute market-wide cartel

pricing. Here, the cartel required active and knowing participation of Defendants, co-conspirators

and other cartel members. The Apartment Management Defendants agreed to provide their

highly confidential sensitive transactional data to RealPage and to adopt RealPage’s pricing.

        68.    This only makes sense if the Apartment Management Defendants knew their

horizontal competitors were also actively agreeing to participate in the collusive scheme.

        69.     Otherwise, competitors could and would use the confidential information to

target customers and lure them away.




9
 RealPage’s Frequently Asked Questions about Revenue Management Software at 3-4,
accessible at https://www.realpage.com/asset-optimization/revenue-management/?showPdf=true.

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      70.       The agreement to provide and receive this data and to use it for setting prices

constitutes a horizontal agreement between and among competitors in the apartment

management market to form a cartel and not to compete on price.

      71.       The cartel was conceived of and facilitated by RealPage and then joined by the

Apartment Management Defendants and others who possessed the data, exchanged it and then

used the AIRM algorithm to facilitate and coordinate pricing.

      72.       All Defendants shared in the ill-gotten profits from the agreements: the Apartment

Management Defendants through artificially inflated prices, and RealPage through the network

effects of their successful scheme, the growth of which served as further inducement to non-

clients to get in on the action or be left behind.

      73.       The Apartment Management Defendants’ agreement to provide RealPage with

detailed pricing and other information and to allow RealPage to set supracompetitive rental

prices they agree to use up to ninety percent of the time has the exact same purpose and effect as

if they met in a smoke-filled backroom and exchanged the information and set prices directly.

      74.       RealPage has complete visibility into all of the Apartment Management

Defendants’ pricing, and RealPage uses that access to create supracompetitive pricing that the

Apartment Management Defendants nearly universally accept.

      75.       Cartel members do not need granular visibility into their competitors’ pricing

because they have agreed, and they know their competitors have agreed, to provide that granular

visibility to RealPage, which then uses the information to create supracompetitive pricing, which

Apartment Management Defendants agree to use.

      76.       The effect is exactly the same as if each cartel member shared all of its

confidential business data directly with each of its competitors and allowed the competitors to

use that data to fashion monopoly pricing. This is an impact of increasingly powerful algorithms

that scholars have warned about.

      77.       RealPage’s recommended rents are aggressively-priced, forward-looking pricing
signals, which RealPage’s clients adopt eighty to ninety percent of the time. Indeed, RealPage’s

business model involves estimating each unit’s “potential to generate [future] . . . revenue,”

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based on “our review of the purchasing patterns of our existing clients with respect to our data

analytics and on demand software solutions.”

        78.    The pricing recommendations are not merely reports of prior market results. They

are expressions of intent regarding future prices. RealPage advises its clients to “stay ahead of

the market,” recommending rents as much as seven percent above market rates. Defendants

know and understand these expressions of future pricing intent are largely adopted and

implemented by all cartel members.

        79.    Defendants’ ability to enforce pricing discipline through their near real-time

detection and neutralization of deviations from the cartel price stabilizes these artificially inflated

prices and ensures that Defendants’ ill-gotten gains can continue and grow without interruption.

         B.    The Apartment Management Defendants’ Knowingly Agreed Not To
               Compete with Their Horizontal Competitors on Price

        80.    By collectively agreeing to provide their nonpublic sensitive leasing data to

RealPage and, by extension, with their main competitors in a highly organized actionable form,

the Apartment Management Defendants are knowingly signaling pricing to their competitors.

        81.    By agreeing to charge the supracompetitive prices provided to them by RealPage

eighty to ninety percent of the time, knowing that other cartel members are doing the same, they

outsource their pricing decisions to RealPage, effectively agreeing to refrain from competing on

price with their horizontal competitors, safe in the knowledge that their competitors are doing the

same.

        82.    The Apartment Management Defendants’ agreement to participate in the program

is a proxy for direct communication that would be patently illegal and used with knowledge and

intent by participants to coordinate and set prices at supracompetitive levels.

        83.    The Apartment Management Defendants know their competitors are also sharing

confidential information and using RealPage’s supracompetitive pricing.

        84.    RealPage’s website provides its clients with assurances that their competitors are
cartel participants, referring to their control of over sixteen million units in the United States,

representing nearly seventy-three percent of the market for investment grade apartments, and


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broadcasting the identities of its clients through testimonials on its website and by facilitating

meetings, as discussed infra.

      85.       RealPage’s website assures prospective clients that its algorithm will enable them

to “gain visibility into real-time market and portfolio performance that allows you to benchmark

against the competition.”

      86.       The website states that “competitor rent data” is one of the inputs upon which it

bases recommended rents. Cartel members know their competitors are using RealPage’s

recommended rents nearly universally because RealPage’s website tells them so, stating on its

website that apartment managers are expected to use RealPage’s recommended rents eighty to

ninety-five percent of the time.

      87.       The Apartment Management Defendants are willing and active participants in the

anticompetitive scheme. The Apartment Management Defendants’ active participation in the

scheme signals their assent to an anticompetitive scheme that only makes sense if their

competitors also agree to participate.

      88.       In a normally functioning market, highly sensitive competitive information would

not be shared but would instead be closely guarded. Indeed, it would be irrational for an

apartment management company to provide its most sensitive business information to a third

party that would then share the information with its competitors, unless it was confident that its

competitors were also participating and using the recommendations of the third party to raise and

stabilize prices.

      89.       RealPage’s algorithm requires a large amount of data to operate and functions

more and more effectively as the amount of the data increases, meaning the algorithm only

works if all or nearly all multifamily apartment management companies are providing data to

RealPage. The Apartment Management Defendants, knowing this, are thus aware that their

erstwhile horizontal competitors are also cartel members, participating in the scheme.

                    i. Defendants Agreed to Prioritize Pricing Over Occupancy
      90.       Unlike sales of nonperishable goods, apartment rentals are time-sensitive. A

vendor who fails to sell a widget in a given month can still sell it the next month. Conversely, if

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an apartment goes unrented for a month, the revenue for that month is lost. Moreover, a rising

number of empty units in a building can have a negative impact on potential renters’ perceptions

of the building’s desirability. For these reasons, multifamily apartment management companies

have traditionally prioritized maintaining maximum occupancy rates, and were willing to

negotiate down on price for new or renewing leases in order to keep the units filled, a practice

known as “keeping heads in the beds.” In this way, multifamily apartment management

companies operating in a competitive market would tend to lease at rents which would keep few

units vacant, i.e., at or near the market-clearing price.

      91.       This strategy minimizes turnover expenses, as there are hard costs associated with

finding and evaluating a replacement tenant.

      92.       In contrast, through their participation in the cartel, RealPage’s clients, including

the Apartment Management Defendants, profitably raise rents above market rates, refuse to

negotiate, and reduce output by decreasing occupancy. Defendants’ prioritization of price over

occupancy can only work if the Apartment Management Defendants know their competitors are

doing the same. In a competitive market, maintaining a rigid position on pricing would be

unprofitable because revenues would decrease due to lower occupancy while the substantial

fixed costs of managing multifamily apartment buildings remain the same or increase.

      93.       The Apartment Management Defendants have agreed to share their confidential

data and adopt RealPage’s non-competitive pricing, which—as facilitated and encouraged by

RealPage—has enabled them to turn the normal competitive functioning of the multifamily real

estate leasing market on its head and prioritize price over occupancy.

            C. AIRM Provides Defendants with Transparency and Frequent Transactions,
               Enabling Defendants to Monitor Compliance and Enforce Pricing Discipline

      94.       RealPage collects highly detailed confidential information, including pricing

information, regarding over 16 million apartment units on a daily basis from the Apartment

Management Defendants.




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      95.       Also on a daily basis, RealPage processes the information the Apartment

Management Defendants provide to it and sends them recommended pricing based on that

information, tailored to each Apartment Management Defendant’s specific geographic market.

      96.       In addition to providing the basis for Defendants’ supracompetitive pricing, this

daily exchange provides Defendants with a near-real-time snapshot of competitors’ pricing,

enabling them to detect deviations from the cartel price almost immediately.

      97.       This real-time visibility into competitors’ pricing enables Defendants to enforce

discipline among the cartel members. Indeed, RealPage tells its clients that “[b]alancing

discipline with action is key for planning your rent growth strategy” in their pricing. Use of this

data also allows cartel members to identify new market entrants.

      98.       In addition to providing information to clients regarding how much they should

charge for their units through the AIRM algorithm, RealPage also provides further instructions to

coordinate pricing.

      99.       RealPage instructs its clients not to negotiate with tenants, telling them instead to

stand firm on the recommended rent even if it means the units will go empty for a time, and

“balance[e] discipline with action.”

     100.       RealPage’s advice to stand firm on price led to higher prices for consumers and

higher profits for the cartel. By keeping units off the market, the multifamily apartment

management companies restricted supply, thereby increasing price, resulting in increased profits

even though units remained vacant. In other words, Defendants’ cartel distorts the forces of

supply and demand such that Defendants are able to reap profits from supracompetitive rents

above the competitive market-clearing rent.

     101.       Defendants have agreed to short circuit the normal functioning of a competitive

market, agreeing instead not to compete.

     102.       As one apartment management executive commented, RealPage’s software

enabled multifamily apartment management companies to “work together,” “to work with a
community in pricing strategies, not to work separately,” even though they “are all technically

competitors.”

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              D. The Illegal Agreement Raised Prices, as Intended

     103.        The Apartment Management Defendants accept and employ RealPage’s

artificially inflated prices up to ninety percent of the time, often referring to such adherence as

pricing “courage” or more frequently, pricing “discipline.”

     104.        As one RealPage client explained, “we weren’t offering concessions nor were we

able to negotiate pricing” like they previously had. RealPage enables the Apartment

Management Defendants to “maximize[s] rents but you have to be willing to strictly follow it.”

     105.        As a result, the Apartment Management Defendants “rarely make any overrides to

the recommendations” provided by RealPage.

     106.        This practice, when combined with the use of RealPage’s recommended rents, led

to consistently higher supracompetitive prices for the multifamily apartment management

companies.

     107.        Over time, including during the Class Period, companies that agreed to follow

RealPage’s recommendations saw their profits increase. RealPage promoted these results to

provide further inducements and incentives to others to join the cartel and to maintain and

increase cartel participation.

     108.        Defendants are aware that their scheme would be threatened by other firms setting

rents too low at nearby properties. According to Jeffrey Roper, the developer of AIRM and

RealPage’s principal scientist, “If you have idiots undervaluing [rents], it costs the whole

system.” Therefore, Defendants must maintain strict adherence to the cartel in order to maintain

high rents.

     109.        Because the Apartment Management Defendants employ AIRM’s predictive

pricing eighty to ninety percent of the time, the predictive pricing is self-realizing: the Apartment

Management Defendants agree to do what AIRM tells them to do, confident in the knowledge

that their competitors are all doing the same thing. Every time an Apartment Management

Defendant agrees to share its sensitive leasing information and adopt RealPage’s recommended
rents, it is engaging in a horizontal agreement with its competitors not to compete on price.



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     110.       The Apartment Management Defendants raise prices secure in the knowledge that

their competitors will do likewise, constituting a unilateral contract that the offerees accept by

raising their prices. That Defendants are able to charge rents as much as seven percent above the

market price is direct evidence of their successful scheme’s anticompetitive effects.

     111.       Plaintiff Matteo Marchetti has suffered and continues to suffer antitrust injury as a

result of Defendants’ unlawful scheme. Mr. Marchetti has rented an apartment managed by

defendant AMLI since 2018. AMLI has increased Mr. Marchetti’s rent in most years, including

rent increases of approximately thirty-six percent for his 2022 lease and seven percent for his

2023 lease.


        E.      “Plus Factors” Prove That The Cartel’s Actions Constituted an
                Impermissible Anticompetitive Conspiracy, Not Merely Parallel Conduct


     112.       The market for multifamily residential units is highly conducive to collusion. The

terms offered to renters are transparent and include a limited number of basic items, including

rent, lease term, and unit size.

     113.       Key market data, including these terms, is digitized and accessible. Through the

computerized algorithm, profit implications of moves, counter-moves, and deviations in price

can be calculated and disseminated.

     114.       The computerized algorithm can determine strategies to punish deviations.

     115.       The computerized algorithm can also quickly identify and address changes in

price and demand.

     116.       In addition to market transparency and frequent transactions, discussed in Section

A.iii, supra, a number of other factors referred to as “plus factors” can make collusion in a given

market more likely.

                    i. Opportunities to Conspire

     117.       Defendants have multiple opportunities to conspire through virtual or face-to-face
forums. RealPage provides multiple channels through which Defendants can communicate with

one another and exchange confidential information.


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       118.      For example, RealPage’s User Group provides the Apartment Management

Defendants with an exclusive, password-protected forum that is only available to RealPage’s

clients and its employees, in which Defendants can “interact with product managers and other

clients”10 and “create a completely integrated solution for the multifamily industry.”11 The User

group has over 1,000 members. The User Group includes an “Idea Exchange,” monitored by

RealPage, in which Defendants are encouraged to share ideas and comment on RealPage

practices.

       119.      RealPage also invites Apartment Management Defendants to join its

subcommittees, another forum in which the Apartment Management Defendants can

communicate privately among themselves and with RealPage employees.

       120.      Subcommittee members are required to join quarterly conference calls and attend

the annual meeting at the RealWorld conference, discussed below.

       121.      RealPage also hosts an annual RealWorld multi-day conference, typically in Las

Vegas, Orlando, or other popular destinations. These multi-day conferences typically draw more

than 1,000 attendees, including representatives of the Apartment Management Defendants, and

provide numerous opportunities for Defendants to exchange ideas and information.

       122.      The National Multifamily Housing Council (“NMHC”) facilitates opportunities to

conspire in secret and exchange information through its meetings, webinars, and information

portals, all of which are accessible only to its members.

       123.      Its membership includes all of the Defendants. RealPage Chief Sales Officer

Brandon Bible is on the NMHC board of directors. NMHC hosts a three-day annual meeting, to

be held in Las Vegas in 2023, which includes an “Apartment Strategies Conference.”

       124.      Its website allows members to view a password protected list of attendees in

advance to determine which of the other cartel members will attend. NMHC also hosts a research




10
     https://www.realpage.com/user-group/best-practices/.
11
     https://www.realpage.com/user-group/.

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forum exclusively for its members, a members-only fall meeting, and other in-person and virtual

meetings members can attend.

                   ii. Defendants Engaged in Concerted Action in a Highly Concentrated
                       Market

     125.      Where, as here, competitors in a highly concentrated market switch from

independent, heterogeneous, and complex pricing structures to a uniform pricing structure, then

concertedly raise prices, it supports a finding of collusion.

     126.      RealPage claims that its clients control over sixteen million units out of a total of

twenty-two million investment grade units in the United States,12 or roughly seventy-three

percent of the multifamily real estate leasing market.

     127.      As alleged above, beginning in 2016, nearly three-quarters of all multifamily

apartment management companies, including all of the Apartment Management Defendants,

switched from negotiating prices individually to getting their pricing from one source: RealPage,

and abruptly began raising prices to supracompetitive levels.

     128.      Defendants’ behavior is highly probative of collusion in violation of Section 1 of

the Sherman Act.

                   iii. The Prohibitive Cost of Developing Multifamily Apartment Buildings
                        Creates a High Barrier to Entry for Would-Be Competitors

     129.      Any prospective competitor seeking to enter the market for multifamily real estate

leases would have to commit an enormous amount of time and money to build an apartment

management portfolio through some combination of acquisition and development and

construction from the ground up.

     130.      This presents a significant impediment for prospective market entrants.

                   iv. High Switching Costs

     131.      A significant part of Defendants’ scheme involves increasing rents to

supracompetitive levels when they come up for renewal.




12
  See https://www.realpage.com/blog/how-business-intelligence-can-clear-up-a-cloudy-
forecast/.

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     132.      Many tenants are forced to absorb the inflated rents because the overwhelming

expense of moving, the time and labor required to locate a new apartment and move one’s

belongings, and the disruption to family, work, and personal life caused by moving make

switching to a better priced alternative—if one were available—cost-prohibitive.

                   v. Market Asymmetries and Price Inelasticity

     133.      There are also asymmetries between Defendants and their customers.

     134.       Defendants are large, sophisticated enterprises with significant resources that can

afford to hold out on price while a small number of apartments go unleased.

     135.      Conversely, Plaintiff and the members of the class have only their own limited

resources, and many, including students and members of the military, are under severe time

constraints, often forced to find an apartment within the time frame of a day or a weekend.

     136.      The pool of customers is diffuse. While each of the Defendants controls many

thousands of leases, each customer is on his or her own, with little or no bargaining power.

RealPage encourages the Apartment Management Defendants to exploit this asymmetric

relationship by refusing to negotiate on price, forcing Plaintiff and the members of the class to

accept Defendants’ terms.

     137.      Defendants have access to—and share between and among themselves—

information about market pricing, the number of available units, the number of people looking

for apartments, the true cost of utilities, amenities and services, and other valuable information

nearly in real time, none of which is available to Plaintiff and the members of the class.

     138.      All of these asymmetries create inelastic demand because the renters do not have

the power or the resources to negotiate on a level playing field with cartel members, leaving

them little choice but to accept the cartel’s supracompetitive prices.

                   vi. Apartments are a Fungible Product

     139.      Apartments in multifamily apartment buildings are generally interchangeable.

Every apartment has the basic requirements for all tenants which drive marketing, sales and
leasing decisions: a kitchen, a living area, and one or more bedrooms and bathrooms.



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     140.      Many apartment buildings have similar amenities such as parking, exercise

facilities, swimming pools, common areas, and internet access.

     141.      Apartments are readily comparable based on these objective features as well as by

rent and square footage.

                   vii. History of Anticompetitive Behavior

     142.      The key participants have a history of anticompetitive collusive conduct.

     143.      YieldStar (the predecessor of AIRM) was developed for RealPage by Jeffrey

Roper, a software programmer who previously developed a similar algorithm for airlines in the

1980s.

     144.      The U.S. Department of Justice investigated Roper and the airlines and concluded

that by employing Roper’s algorithm the airlines had inflated ticket prices by more than a billion

dollars, in violation of the Sherman Act. The DOJ reached settlement agreements or consent

decrees with eight airlines.

     145.      Roper freely concedes that his airline ticketing algorithm was illegal: “We all got

called up before the Department of Justice in the early 1980s because we were colluding.”13 And

RealPage freely concedes that AIRM is based on the airline ticketing algorithm: “The technology

is similar to revenue management approaches that were originally adopted by the airline

industry.”14


         F.    Defendants’ Agreement not to Compete Had the Purpose and Effect of
               Increasing Prices and Decreasing Output in Violation of the Sherman Act

     146.      Basic principles of economics provide that when parties with sufficient power

within a given market agree not to compete on price and to restrict output, as the Defendants here

have done, supracompetitive monopoly rents and profits result.




13
  Heather Vogell, Rent Going Up? One Company’s Algorithm Could Be Why, Pro Publica, Oct.
15, 2022, available for download at https://www.propublica.org/article/yieldstar-rent-increase-
realpage-rent.
14
   Frequently Asked Questions about Revenue Management Software, available for download at
https://www.realpage.com/asset-optimization/revenue-management/#.

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     147.       Defendants are able to maintain increased revenues even though turnover rates are

increasing, i.e., units are being left unleased and vacant. For example, according to the CEO of

Defendants Camden Property Trust, one of the adopters of AIRM, turnover rates increased

fifteen percent after adoption, while the overall same-property revenue growth increased by 7.4

percent.

     148.       This is confirmed by statements from the Apartment Management Defendants.

For example, Defendant Greystar, the largest apartment management company in the United

States, has stated that its buildings using RealPage’s pricing “outperformed their markets by

4.8%.” Moreover, markets where RealPage clients hold a greater market share show larger and

more rapid increases in rents relative to areas where their combined market share is smaller.

        G.      The Relevant Market

                    i. The Relevant Product Market

     149.       The relevant product market is the market for the lease of units in multifamily

residential real estate.

     150.       The multifamily residential real estate lease market satisfies the test for market

definition used by federal antitrust enforcement agencies, widely known as the “SSNIP test.”

The test asks whether a hypothetical monopolist in a proffered market could impose a small but

significant (typically five percent), non-transitory increase in price (a “SSNIP”), without causing

a sufficient number of customers to switch to other products or services in sufficient numbers to

make the SSNIP unprofitable. If the SSNIP is profitable, the market is properly defined. If the

SSNIP is not profitable, the market is too narrowly defined, and does not encompass sufficient

economic substitutes.

     151.       Here, the SSNIP test is satisfied, and the market is properly defined. RealPage

states that multifamily apartment management companies that agree to use RealPage’s

recommended rent prices are able to raise prices up to seven percent above the market price on a

sustained basis.
     152.       When conspirators have control over prices, it is sufficient to show market power.

As Defendants freely admit, that is the case here.

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        153.     Single family homes for rent are generally more expensive and thus not a

reasonable substitute for multifamily apartment buildings.

        154.     Many of the amenities commonly available in multifamily apartment buildings

are unavailable in single family homes, including building security, swimming pools, gyms,

common areas for socializing or hosting parties, parking, access to desirable urban areas

including dining and nightlife, access to public transportation, and newer facilities, some with

views and/or balconies.

        155.     Multifamily apartment buildings often cater to a particular cohort, such as

students, military, or seniors, which provide social opportunities unavailable in single family

homes, especially when combined with the aforementioned amenities. Nor is home or

condominium ownership an acceptable alternative due to the prohibitive upfront costs and extra

expenses such as mortgage payments, taxes, insurance, maintenance, and homeowner association

fees.

        156.     Defendants’ scheme involves the formation of a nationwide cartel. The scope of

the conspiracy is nationwide.

        157.     RealPage has clients in every state and every metropolitan statistical area in the

United States.

        158.     Defendants’ scheme operates in the same way across the entire country.

        159.     Plaintiff and the members of the class suffer the same antitrust injury—increased

rents, decreased supply, lower quality inventory, inadequate service, and inflexible landlords

unwilling to negotiate rents—across the entire United States.

        160.     Through its unlawful actions Defendants’ cartel is able to charge

supracompetitive rents to tens if not hundreds of thousands of renters throughout the country.

        161.     RealPage’s clients, including the Apartment Management Defendants, control

approximately seventy-three percent of all units in multi-family apartment buildings across the

United States. Each of the Apartment Management Defendants controls multifamily apartment
buildings in multiple metropolitan areas throughout the country.



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     162.        Demand for units in multi-family apartment buildings is highly inelastic: the

Apartment Management Defendants have been able to profitably raise rents up to seven percent

over market on an annual basis with only minimal defections.

                     ii. The Relevant Geographic Market

     163.        Although Defendants’ anticompetitive scheme is nationwide in scope, the

economic effects are localized in certain cases due to limitations on how far people will

commute between their homes and their work. For example, many people are generally willing

to commute across or within a metropolitan statistical area, which is defined by the U.S. Office

of Management and Budget as “an area containing a large population nucleus and adjacent

communities that have a high degree of integration with that nucleus,” including additional

“outlying counties” if inhabitants commute between the counties to live and work. While people

are generally willing to commute within a metropolitan statistical area and would consider

similar apartments within a metropolitan area to be reasonable substitutes for one another, they

are generally not willing to commute between two separate metropolitan areas on a daily basis

Nevertheless, due to the nationwide scope of the cartel, including the participation of many of

the largest commercial landlords in the United States, the cartel has ubiquitous market power in

the United States.

     164.        Here, the relevant geographic market is no smaller than the Miami Metropolitan

Statistical Area. The Miami Metropolitan Statistical Area is a valid geographic market because a

SSNIP would cause renters to seek other housing within that area. On information and belief the

Apartment management Defendants have market power within the Miami Metropolitan

Statistical Area, controlling approximately seventy percent or more of the market for multifamily

apartment buildings there, and have been able to profitably raise rents above market rates and

reduce supply.

                                    CLASS ACTION ALLEGATIONS

     165.        Plaintiff brings this action on behalf of himself and all others similarly situated
pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(2) or 23(b)(3) as representatives of

the Class, which is defined as follows:

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       All persons and entities living within the Miami Metropolitan Statistical Area that are
       direct purchasers of multifamily residential real estate leases from an Apartment
       Management Defendant that shares data with and receives recommended pricing from
       RealPage, or from a division, subsidiary, predecessor, agent, or affiliate of such
       Apartment Management Defendant, at any time during the period of January 23, 2019
       until the Defendants’ unlawful conduct and its anticompetitive effects cease to persist.

     166.      The Class is so numerous that joinder of all members in this action is

impracticable. There are tens of thousands if not hundreds of thousands of members in the

proposed Class.

     167.      Plaintiff’s claims are typical of those of the Class.

     168.      Plaintiff and all members of the Class were all injured by the same unlawful

conduct, which resulted in all of them paying more for multifamily residential leases than they

otherwise would have in a competitive market.

     169.      Plaintiff will fairly and adequately protect and represent the interests of the Class.

The interests of the Plaintiff are not antagonistic to the Class.

     170.      Federal and state government entities are excluded from the Class.

     171.      Questions of law and fact common to the members of the Class will predominate

over questions, if any, that may be individual to individual class members, since the Defendants

have acted and refused to act on grounds generally applicable to the Class.

     172.      Questions of law and fact common to the Class include:

               a.      Whether Defendants have entered into a formal or informal contract,

combination, conspiracy, or common understanding to artificially inflate price and/or artificially

suppress supply of multifamily residential real estate leases from competitive levels;

               b.      If Defendants entered into such a formal or informal contract,

combination, conspiracy, or common understanding, whether that conduct violates Section 1 of

the Sherman Act under the per se, quick look, or rule of reason modes of analysis;

               c.      If Defendants entered into such a formal or informal contract,

combination, conspiracy, or common understanding, whether that conduct has in fact artificially
inflated price and/or artificially suppressed supply of multifamily residential real estate leases

from competitive levels;


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                  d.     The proper measure of damages; and

                  e.     The contours of appropriate injunctive relief to remediate the

anticompetitive effects of the challenged conduct in the future.

     173.         Plaintiff is represented by counsel who are experienced and competent in the

prosecution of complex antitrust and unfair competition class actions.

     174.         Class action treatment is the superior method for the fair and efficient

adjudication of the controversy in that, among other things, such treatment will permit a large

number of similarly situated persons or entities to prosecute their common claims in a single

forum simultaneously, efficiently, and without the unnecessary duplication of effort and expense

that numerous individual actions would engender. The benefits of proceeding through the class

mechanism, including providing injured persons or entities with a method of obtaining redress

for claims that might not be practicable for them to pursue individually, substantially outweigh

any difficulties that may arise in the management of this class action.

                                   AGENTS AND CO-CONSPIRATORS

     175.         The unlawful acts alleged against the Defendants in this class action complaint

were authorized, ordered, or performed by the Defendants’ respective officers, agents,

employees, representatives, or shareholders while actively engaged in the management,

direction, or control of the Defendants’ businesses or affairs.

     176.         The Defendants’ agents operated under the explicit and apparent authority of their

principals.

     177.         Each Defendant, and its subsidiaries, affiliates and agents operated as a single

unified entity.

     178.         Various persons and/or firms not named as Defendants herein may have

participated as coconspirators in the violations alleged herein and may have performed acts and

made statements in furtherance thereof.

     179.         Each acted as the principal, agent, or joint venture of, or for other Defendants
with respect to the acts, violations, and common course of conduct alleged herein.



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                                     COUNT ONE
       Agreement in Restraint of Trade in Violation of Section 1 of the Sherman Act
                                      15 U.S.C.§ 1

     180.      Plaintiff repeats and realleges all previous allegations as if fully set forth herein.

     181.      Defendants have formed a cartel, the purpose and intent of which is to eliminate

competition, artificially inflate the price of multifamily residential real estate leases above

competitive levels, and artificially decrease the supply and output of multifamily residential real

estate leases below competitive levels.

     182.      The agreement and understandings are unreasonable restraints of trade in the

market for multifamily residential real estate leases in the Miami Metropolitan Statistical Area.

     183.      Pursuant to the cartel, prices for multifamily residential real estate leases in the

Miami Metropolitan Statistical Area have been fixed, stabilized and raised to supracompetitive

levels in the relevant antitrust market.

     184.      Defendants possess market power in the relevant market. Defendants have

exercised that power in the form of higher supracompetitive prices.

     185.      As a direct, foreseeable and consequent result, Defendants’ cartel has caused the

Class to pay more than they would have paid but for the conspiracy and thereby suffer

overcharge damages, measured by the difference between the prices Class Members paid and

what they would have paid but for the illegal cartel.

     186.      The injury the class has sustained in the form of higher rents is precisely the type

of injury the antitrust laws are intended to prevent.

     187.      The cartel’s actions, particularly the agreement to use and the use of the AIRM

algorithm to set prices, have produced anticompetitive effects, including but not limited to high

prices, lower supply and lower quality of residential real estate leases.

     188.      There are no procompetitive justifications for the Defendants’ cartel, and any

proffered justifications, to the extent legitimate, could be achieved through less restrictive means.

     189.      Any procompetitive effects are outweighed by the anticompetitive effects.




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     190.      The Defendants’ cartel is a per se violation of the federal antitrust laws. In the

alternative, the Defendants’ cartel is unlawful under either a quick look or rule of reason mode of

analysis.

     191.      The conduct is continuing, causing Plaintiff and members of the Class irreparable

harm until the conduct is enjoined or modified.

                                     PETITION FOR RELIEF

       Plaintiff petitions for the following relief:

               A.      A determination that this action may be maintained as a class action

                       pursuant to Federal Rule of Civil Procedure 23, that Plaintiff be appointed

                       class representative, and that Plaintiff’s counsel be appointed as class

                       counsel.

               B.      A determination that the conduct set forth herein is unlawful under Section

                       1 of the Sherman Act, 15 U.S.C. § 1, under either a per se, quick look, or

                       rule of reason mode of analysis.

               C.      A judgment enjoining Defendants from engaging in further unlawful

                       conduct.

               D.      An award of attorneys’ fees and costs as permitted by statute and law

               E.      Injunctive relief to restrain and enjoin the illegal conduct.

               F.      An award of pre- and post-judgment interest on all amounts awarded; and

               G.      Such other relief as the Court deems just and equitable.

                                REQUEST FOR A JURY TRIAL

       Plaintiff requests a trial by jury of all issues so triable.




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Dated: February 7, 2023                     /s/ Benjamin J. Widlanski______
                                           Benjamin J. Widlanski
                                           Fla. Bar No. 1010644
                                           bwidlanski@kttlaw.com
                                           Javier A. Lopez
                                           Fla. Bar No. 16727
                                           jal@kttlaw.com
                                           KOZYAK TROPIN & THROCKMORTON LLP
                                           2525 Ponce de Leon Blvd., 9th Floor
                                           Coral Gables, Florida 33134
                                           Telephone: (305) 372-1800


                                            /s/ Archie Lamb Jr._______
                                           Archie C. Lamb, Jr., Esq.
                                           Fla. Bar No. 742597
                                           alamb@archielamb.com
                                           ARCHIE LAMB & ASSOCIATES
                                           P.O. Box 2088
                                           Birmingham, Alabama 35201
                                           205-612-6789 (C)

Dated: February 7, 2023                   By:         /s/ Joseph R. Saveri
                                                         Joseph R. Saveri

                                          JOSEPH SAVERI LAW FIRM, LLP
                                          Joseph R. Saveri (State Bar No. 130064)
                                          Steven N. Williams (State Bar No.175489)
                                          Cadio Zirpoli (State Bar No.179108)
                                          Kevin E. Rayhill (State Bar No.267496)
                                          601 California Street, Suite 1000
                                          San Francisco, CA 94108
                                          Telephone: (415) 500-6800
                                          Fax: (415) 395-9940
                                          Email: jsaveri@saverilawfirm.com
                                          jsaveri@saverilawfirm.com
                                          swilliams@saverilawfirm.com
                                          czirpoli@saverilawfirm.com
                                          krayhill@saverilawfirm.com

                                          Attorneys for Individual and Representative
                                          Plaintiff Matteo Marchetti




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